Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 1 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 2 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 3 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 4 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 5 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 6 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 7 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 8 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 9 of 27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 10 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 11 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 12 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 13 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 14 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 15 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 16 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 17 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 18 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 19 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 20 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 21 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 22 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 23 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 24 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 25 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 26 of
                                      27
Case 1:18-cv-24100-MGC Document 152-5 Entered on FLSD Docket 01/25/2021 Page 27 of
                                      27
